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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS


In     Terri Jenkins
Re:    Debtor                                           Case No.: 19−33769                                          ENTERED
                                                                                                                    07/10/2019



                   INITIAL ORDER FOR CASE MANAGEMENT OF CHAPTER 13 CASE

The following are orders of the Court:

      1. Payment of the Filing Fee.

             a. The debtor(s) shall pay the filing fee with the petition or promptly on the due date provided in an
                order allowing installment payments.


             b. If the filing fee or any installment is not timely paid, the Clerk shall issue a notice of pending
                dismissal of the case for failure to pay filing fees. The notice of pending dismissal shall be served on
                the debtor(s), debtor(s)' counsel and the chapter 13 Trustee.


             c. If the debtor(s) do not pay the filing fee or request a hearing within 10 days after the notice is served,
                the case may be dismissed without further notice.


      2. Filing the List of Creditors, Plan, Schedules and Statements.

             a. The list of creditors (with addresses) must be filed with the petition in the format prescribed by the
                Clerk unless a motion for extension of time under Federal Rule of Bankruptcy Procedure (FRBP)
                1007(a)(4) is filed with the petition.


             b. A motion for extension of time to file the list of creditors, plan, schedules or statements need be
                served only on the chapter 13 Trustee and on the U.S. Trustee. Because the FRBP require a creditor's
                meeting within 50 days, except for truly exceptional circumstances, the Court will not grant an
                extension beyond 25 days for filing the plan, schedules or statements.


             c. If the U.S. Trustee files a motion to dismiss under Bankruptcy Code §1307(c)(9) or (10), or if the
                chapter 13 Trustee files a motion to dismiss for delay prejudicial to creditors and the basis of that
                motion is that the debtor(s) failed to file the papers required by Bankruptcy Code §521 or failed to
                file a plan in accordance with FRBP 3015, the motion need not be served on any party except the
                debtor(s) and, if the debtor(s) are represented by counsel, on debtor(s)' counsel.


             d. If either the U.S. Trustee or the chapter 13 Trustee files a motion to dismiss under subparagraph (c)
                above, the motion need not include BLR 9013 language but shall include the following notice:

                A hearing will be conducted on this matter on [insert date of next chapter 13 panel following
                expiration of 15 days] at _____ a.m. If the debtor(s) object to the requested relief, the debtor(s) and
                counsel must attend the hearing. If no party objects to the requested relief within (ten) 10 days after
                the date that the motion was served, the United States Trustee or the chapter 13 Trustee may file a
                certificate of non−compliance and the Court may dismiss this case without actually conducting a
                hearing. (Bankruptcy Code §102(1)(B).)
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    3. Confirmation Hearings.

            a. Confirmation hearings will be continued beyond the initial setting only for good cause shown. A
               motion for continuance shall be filed setting forth the basis of the cause for the requested
               continuance. The chapter 13 Trustee is not authorized to grant a continuance of the confirmation
               hearing. Only the Court may grant a continuance of the confirmation hearing.


            b. Absent exceptional circumstances, the hearing on confirmation of the debtor(s) plan will not be
               continued to a date that is after 180 days after the commencement of the chapter 13 case.


            c. At least 5 days before confirmation, the chapter 13 Trustee shall submit a recommendation (which
               may be in summary chart form for all cases set for confirmation on a particular date) as to whether
               plans should be confirmed. The Court will not be bound by the chapter 13 Trustee's recommendation
               for or against confirmation. If the chapter 13 Trustee has recommended in favor of confirmation and
               if there are no objections to be considered at confirmation, the debtor(s) and debtor(s)' counsel need
               not attend. If the Court determines that a hearing is required on a plan for which confirmation is
               recommended by the trustee and on which no other objections were filed, the hearing will be
               rescheduled with notice to the debtor(s) and debtor(s)' counsel. If the chapter 13 Trustee has not
               recommended confirmation, the debtor(s) and debtor(s)' counsel must attend the hearing and meet the
               debtor(s)' statutory confirmation burden, except that attendance in the circumstances set forth in §7,
               §8, §9(b) and §9(c) below shall be according to those sections.


    4. Parties Required to Attend Hearings. This section applies to hearings that are set on the chapter 13
       trustee's scheduled panel.

            a. If a matter has been resolved concerning a motion or an objection, the parties may designate counsel
               for one of the settling parties to announce the settlement. Other counsel may, but are not required, to
               attend. If no person announces the settlement, the motion or objection may be denied for want of
               prosecution.


            b. If the Court declines to accept the announced agreement, the matter may be continued until the next
               chapter 13 panel date or the Court may make another disposition. All parties to the objection (i.e., the
               objecting party, the debtor(s) and the chapter 13 Trustee) must attend the continued hearing.


    5. Tax Transcripts. The Internal Revenue Service must send a tax transcript to the chapter 13 trustee, the
       debtors and the debtor's counsel, with delivery to occur not later than 7 days prior to the initial date set for the
       §341 meeting of creditors.


    6. Service of this Order. A copy of this Order shall promptly be served by the Clerk on parties in interest,
       including the debtor(s) and debtor(s)' counsel and the United States Internal Revenue Service. The Internal
       Revenue Service shall be served at the addresses provided by them from time−to−time to the Clerk.


THIS ORDER IS EFFECTIVE, IN EACH CASE, ON THE DATE THE ORDER IS ENTERED IN THAT
CASE.

ISSUED AND ENTERED ON 7/10/19
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                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In     Terri Jenkins
Re:    Debtor                                             Case No.: 19−33769
                                                          Chapter: 13



                  INITIAL ORDER OUTLINING DEBTORS' INITIAL RESPONSIBILITIES

      The debtor(s) are ordered to:

      1.   Make all payments due to the chapter 13 trustee. The first payment is due not later than 30 days after the
           petition date.


      2.   File a proposed plan within 15 days, unless the plan was filed with the petition.


      3.   File a proposed Wage Order, Order for EFT Payments (online banking), or Order for ACH Payments in
           compliance with Local Rule 1007(d).


      4.   File all schedules and the statement of financial affairs within 15 days, unless these documents were filed
           with the petition.


      5.   Attend the § 341 meeting of creditors as scheduled by the chapter 13 trustee.


      6.   Attend the debtor education seminar within 45 days.


      7.   Immediately file all delinquent tax returns.


      8.   Comply with all Court orders.

      Failure to comply with this order is likely to result in a dismissal of this bankruptcy case. It may also result in a
prohibition against the filing of additional bankruptcy cases or a finding that the debtor(s) are in contempt of court.




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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Terri Jenkins
Re:    Debtor                                            Case No.: 19−33769
                                                         Chapter: 13



   ORDER AUTHORIZING USE OF VEHICLES PURSUANT TO §363 AND PROVIDING ADEQUATE
                          PROTECTION TO LIEN HOLDERS


      1. The debtor(s) are authorized to use their vehicle(s) pursuant to §363 of the Bankruptcy Code, conditioned on
         the following:
              A. The debtor(s) must maintain insurance on the vehicle(s) in the amounts and with the coverages
                  pertaining to the vehicle itself required by the contract with any holder of a pre−petition lien on the
                  vehicle(s).


              B. Proof of insurance must be provided within 5 days of receipt of written request by the holder of a
                 vehicle lien.


              C. The debtors must timely make all required payments to the chapter 13 trustee.


             D. Not later than the date on which a plan is filed, file a proposed (x) wage order; (y) Order for EFT
                Payments (Online Banking) and Debtor's Certification; or (z) Order for ACH Payments and Debtor's
                Certification, each in the form approved by the Court.

      2. As additional adequate protection for the interest of the lien holder(s), the lien holder(s) are granted a claim
         pursuant to §503(b)(1). This lien is intended to be of the type described in §507(b) of the Bankruptcy code.
         The amount of the claim is equal to 1.25% of the value of the vehicle as of the petition date. The adequate
         protection payments shall be calculated by the chapter 13 trustee based on the average of the NADA retail
         and wholesale values (without options or mileage adjustments), unless the Court orders otherwise.


      3. The debtor(s) or any other party in interest may object to this order within 30 days of its entry. If a timely
         objection is filed, an evidentiary hearing will be conducted at the next chapter 13 panel. The objecting party
         is ordered to provide notice of the hearing date, attend the hearing and present evidence in support of the
         objection.




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